              Case 1:20-cv-08050-GHW Document 10 Filed 01/08/21 Page 1 of 1
                                                                                             US D C S D N Y
                                                                                             D OC U ME NT
                                                                                             E L E C T R O NI C A L L Y FI L E D
U NI T E D S T A T E S DI S T RI C T C O U R T
                                                                                             D O C #: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
S O U T H E R N DI S T RI C T O F N E W Y O R K
                                                                                             D A T E FI L E D: 1 / 8 / 2 0 2 1
------------------------------------------------------------------X
                                                                    :
  I n re S H E L D O N B E R T L E A R Y .                          :
                                                                    :
                                                     D e bt or . :                                 1: 2 0 -c v -8 0 5 0 -G H W
  ---------------------------------------------------------------- X
                                                                    :                                     OR DER
  G R E A T L A K E S E D U C A TI O N L O A N                      :
  S E R VI C E S, I N C. ,                                          :
                                                                    :
                                                   A p p ell a nt , :
                                                                    :
                               -a g ai nst -                        :
                                                                    :
  S H E L D O N B E R T L E A R Y,                                  :
                                                                    :
                                                   A p p ell e e.   :
------------------------------------------------------------------ X


G R E G O R Y H. W O O D S, U nit e d St at es Distri ct J u d g e:
           O n S e pt e m b er 2 9, 2 0 2 0, t h e C o urt or d er e d t h at, p urs u a nt t o F e d er al R ul e of B a n kr u pt c y

Pr o c e d ur e 8 0 1 8, A p p ell a nt’s bri ef m ust b e s er v e d a n d fil e d b y 3 0 d a ys aft er t h e “ d o c k eti n g of n oti c e

t h at t h e r e c or d h as b e e n tr a ns mitt e d or is a v ail a bl e el e ctr o ni c all y.” D kt. N o. 3 . O n O ct o b er 7, 2 0 2 0

a n d O ct o b er 9, 2 0 2 0, A p p ell a nt pr o vi d e d t h e C o urt wit h t h e d esi g n ati o n of t h e r e c or d o n a p p e al a n d

s u p pl e m e nt al d o c u m e nts fr o m t h e b a n kr u pt c y pr o c e e di n g. See D kt. N os. 5, 9. T h e C o urt h as n ot

r e c ei v e d A p p ell a nt’s bri ef. A c c or di n gl y, A p p ell a nt is dir e ct e d t o pr o vi d e t h e C o urt wit h a st at us

u p d at e b y n o l at er t h a n J a n u ar y 1 5, 2 0 2 1.

           A p p ell a nt is dir e ct e d t o s er v e a c o p y of t his or d er o n A p p ell e e a n d t o r et ai n pr o of of s er vi c e.

           S O O R D E R E D.

 D at e d: J a n u ar y 8, 2 0 21                                        _____________________________________
                                                                                  G R E G O R Y H. W O O D S
                                                                                 U nit e d St at es Distri ct J u d g e
